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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
STATE OF TEXAS,                             )
                                            )
                      Plaintiff,            )
and                                         )
                                            )
BAYOU CITY WATERKEEPER,                     )
                                            )
              Plaintiff-Intervenor,         )
                                            )
              v.                            )       Civil Action No. 4:18-cv-03368
                                            )       Judge EWING WERLEIN, JR.
CITY OF HOUSTON, TEXAS,                     )
                                            )
                      Defendant.            )
                                            )

                     SECOND JOINT REPORT ON THE PROGRESS
                         OF SETTLEMENT NEGOTIATIONS

       On September 20, 2018, Plaintiffs United States and the State of Texas filed a Complaint

against the City of Houston, Texas, pursuant to the Clean Water Act (“CWA”), 33 U.S.C. § 1251

et seq., and the Texas Water Code § 7.001 et seq. (ECF No. 1). Simultaneously with filing the

Complaint, the United States filed an Unopposed Motion to Stay Proceedings to Allow the

Parties to Complete Settlement Negotiations (“Stay Motion”). (ECF No. 2). Plaintiff State of

Texas (the “State”) and Defendant City of Houston (“City” or “Houston”) supported the Stay

Motion.




                                                 
 
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       The Stay Motion advised the Court that the U.S. Department of Justice (“DOJ”), the U.S.

Environmental Protection Agency (“EPA”), the Office of the Attorney General for the State of

Texas, the Texas Commission on Environmental Quality (“TCEQ”) and Houston (collectively,

the “Parties”) were engaged in ongoing settlement negotiations to address Houston’s alleged

violations of the CWA and the Texas Water Code. The Stay Motion further advised the Court

that, prior to Hurricane Harvey, the Parties had made significant progress toward a final

agreement; that negotiations were suspended for a period due to the devastating impact of

Hurricane Harvey on the City and the need for Houston officials to focus attention on the health

and safety of its citizens; and that the Parties recently resumed negotiations.

       On September 24, 2018, the Court entered an Order Staying Litigation Pending

Settlement Negotiations (“Stay Order”). (ECF No. 8). In its Stay Order the Court concluded

that “granting said motion is in the best interest of judicial economy and will facilitate

settlement.” Stay Order at 1. The Stay Order directed the Parties to file a joint report on

settlement progress every 45 days following entry of the Stay Order. Id. The Stay Order also

stated “that any party, upon advance written notice to the parties and for good cause shown, may

request a status conference or that the matter be returned to the active litigation docket.” Id. at 2.

       Since entry of the Stay Order, the Parties have continued to conduct good faith settlement

negotiations. Pursuant to the Stay Order, on November 8, 2018, the Parties submitted an initial

Joint Report (“First Joint Report”) to the Court on the progress of their settlement discussions.

At this time, the City and the Plaintiffs United States and the State of Texas (“Plaintiffs”) are

submitting their Second Joint Report on the status of their settlement negotiations.




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                                        BACKGROUND

       The Plaintiffs filed their Complaint against Houston pursuant to Sections 309(b) and (d)

of the CWA, 33 U.S.C. §§ 1319(b) and (d), and provisions of the Texas Water Code. The

Complaint alleges violations of the CWA, provisions of the Texas Water Code, and the terms

and conditions of Texas Pollutant Discharge Elimination System (“TPDES”) permits issued to

Houston by the TCEQ. In general, the TPDES permits contain terms and conditions that

Houston must comply with in the operation of the City’s wastewater treatment plants

(“WWTPs”) and the wastewater collection systems associated with the WWTPs. Houston has

39 WWTPs that are currently subject to TPDES permits. The Complaint alleges two categories

of violations: (a) discharges of wastewater from WWTPs that exceed effluent limitations set

forth in TPDES permits and (b) unauthorized discharges of untreated wastewater, namely

sanitary sewer overflows (“SSOs”), from components of the collection systems associated with

WWTPs.

       The Plaintiffs’ and the City’s ongoing settlement negotiations have focused on both types

of violations alleged in the Complaint. Specifically, the Plaintiffs and City have focused on the

types of effluent violations that have occurred, the causes of these effluent permit exceedances,

and appropriate corrective measures to be implemented to address effluent exceedances at the

WWTPs. In addition, the Plaintiffs and City have focused on, among other issues, the causes of

SSOs, where they are occurring, and measures to be implemented to eliminate SSOs.

       On November 19, 2018, the Court granted Bayou City Waterkeeper’s Opposed Motion to

Intervene as Plaintiff.




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                      PROGRESS IN SETTLEMENT NEGOTIATIONS

A. Settlement Meetings and Conference Calls

       In the First Joint Report, filed on November 8, 2018, the Plaintiffs and City reported that

they conducted a face-to-face settlement meeting on November 1 and 2, 2018, in Austin, Texas.

The Plaintiffs and City also reported that sixteen of their representatives participated in the

November meeting, and that those representatives included counsel, technical and professional

staff on behalf of EPA and Houston, and an environmental consultant on behalf of the DOJ and

EPA. Further, the Plaintiffs and City reported that prior to that meeting they exchanged

proposed settlement language on a number of issues for discussion at the meeting.

       The First Progress Report further advised the Court that the next steps would include two

telephone conference calls on November 9 and November 29, 2018, involving technical staff

representatives of the Plaintiffs and City, as well as an environmental consultant on behalf of

DOJ and EPA, and another face-to-face meeting on December 13-14, 2018 in Houston, Texas.

These three events occurred as scheduled. Both technical calls focused on exchanging

information and attempting to reach agreement on Houston’s performance of a capacity

assessment of the Houston wastewater collection and transmission system (“WCTS”). The

reason for a capacity assessment is discussed below in Section C. The Plaintiffs and City

discussed a number of other potential settlement provisions, as discussed below, at the December

13-14 meeting. Fifteen of their representatives attended the meeting. In addition, two EPA

representatives participated in most of the meeting by telephone, and two TCEQ representatives

participated in a portion of the first day of the meeting by telephone.




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B. Negotiating Teams and Summary of Progress

       Initially, counsel for the United States, the State, and Houston wish to emphasize to the

Court that they and others working with them are serving as negotiators for the respective

Parties. Any references in this Second Joint Report to the Parties reaching agreement or near

agreement on issues addressed herein and issues previously discussed mean the negotiating

teams have agreed on positions they intend to recommend to the respective Parties’ principals,

subject to reviewing the terms of any proposed final agreement. Any final written agreement

will be subject to the review and approval of the Mayor of Houston and the City’s governing

body and appropriate officials of the United States and the State authorized to approve final

settlements. Accordingly, in this Section, “negotiating teams” is used when reference is made to

any party’s current or proposed position on the issues discussed below.

       Since resuming settlement negotiations in August 2018 and during the stay period to date,

the Plaintiffs and City have focused their discussions on compliance measures or injunctive relief

to be implemented to address effluent exceedances related to the City’s WWTPs and SSOs

related to the WCTS. The Plaintiffs and City have worked to develop a comprehensive

compliance plan or injunctive relief package, which will include the measures and relief

addressed below. Subject to the Parties’ ongoing discussions and required approvals, the

negotiating teams have reached agreement or near agreement on all major provisions of a

proposed comprehensive compliance plan or injunctive relief package, as discussed below.

C. Proposed Compliance Measures and Injunctive Relief Not Addressed in the First Joint
   Report

1.     Capacity Assessment. The First Joint Report did not address Capacity Assessment. For

the Court’s information, during rainfall events, the City of Houston experiences SSOs, often

large volume SSOs due to inflow and infiltration (I/I) of rainfall and groundwater sources into

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the sewer collection system. A Capacity Assessment will be performed to identify WCTS

components that do not have adequate capacity to convey sewage and I/I during peak rainfall

events. When WCTS components do not have adequate capacity, a hydraulic bottleneck occurs

causing the wastewater to back up and be discharged from manholes or other components. The

Capacity Assessment is performed by evaluating the occurrences of SSOs during all wet weather

events and through hydraulic modeling of the sewer system to predict what size storm would

lead to sewer system flows that would exceed the existing sewer system’s capacity. The

Plaintiffs and the City have agreed on a recommended approach to addressing capacity

assessment and have identified 9 areas that will be addressed in the City’s capacity program.

Furthermore, the City has agreed it will continue to evaluate the occurrence of wet weather SSOs

and use monitoring technology to assist in locating additional areas where the sewer system’s

capacity may be deficient.

       The Plaintiffs and City have agreed in principle on the elements of a proposed Capacity

Assessment and the development and implementation of remedial measures based on

deficiencies identified through Houston’s assessment activities.

D. Update on Compliance Measures and Injunctive Relief Provisions Discussed in the
   November 8 Progress Report

1.     Condition Assessment. The First Joint Report advised the Court that Houston’s

“Wastewater Collection and Transmission System,” or WCTS consists of thousands of miles of

force mains and gravity sewer lines, hundreds of lift stations, and other components. The First

Report also advised the Court that some SSOs occur due to deficiencies in these components.

Further, the First Joint Report advised the Court that the negotiating teams had discussed and

were nearing agreement on the scope of a Condition Assessment that Houston would undertake




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to evaluate the condition of the components of its WCTS and then develop a program for repair

and rehabilitation of deficient components.

       Prior to and during the December meeting, the negotiating teams continued their

discussions on this issue and now report to the Court they have reached agreement with respect

to recommended Condition Assessment language, subject to a few adjustments in the language.

2.     Wastewater Treatment Plants. In the First Joint Report, the Court was advised that the

negotiating teams had agreed on recommended corrective measures that Houston would

implement to address effluent exceedances occurring at WWTPs, and that they were continuing

to discuss certain additional issues related to the WWTPs. Since filing the First Joint Report,

the negotiating teams have continued to discuss the WWTPs and have exchanged draft language

regarding WWTP corrective measures. At the recent December meeting, the negotiating teams

agreed on a recommended process for implementation of a routine system for operation and

maintenance performance evaluations of each WWTP and also reached an agreement on

recommended WWTP language to be included in a final settlement document.

3.     Capacity Management Operation and Maintenance (“CMOM”) Program. The First Joint

Report advised the Court that a CMOM is a preventive maintenance program designed to ensure

that the components of a wastewater collection system are properly operated and maintained, and

that the negotiating teams have reached agreement on the principal provisions of a CMOM

Program.

       After filing the First Joint Report, the negotiating teams continued to discuss and

exchange draft language to finalize agreement on a CMOM Program. At the recent December

meeting, the negotiating teams reached an agreement on a recommended CMOM Program,

subject to revising the language on one component of the Program and resolving one other issue.



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4.      Wet Weather Facilities (“WWFs”). The First Joint Report provided the Court a brief

background statement on the three WWFs. Each WWF is associated with a specific WWTP and

is subject to a Texas TPDES permit. During heavy rain events, excess wastewater flow from the

sewer collection system may be routed to a WWF that can provide storage of these flows. If

wastewater flow exceeds the storage capacity of the WWF, the excess volume of wastewater in

the WWF is directed to an outfall and released to a designated water body. Before being

discharged, the excess wastewater flows in the WWFs receive primary treatment and

disinfection. The First Joint Report advised the Court that the negotiating teams have reached

agreement for elimination of discharges from one of the WWFs by closing it as a WWF. For the

remaining two WWFs, the negotiating teams agreed to recommend that Houston conduct a pilot

project to determine whether certain treatment technologies can be used to ensure that future

discharges meet applicable regulatory requirements. The negotiating teams advised the Court

that they were still determining the details of this pilot project.

        Since submission of the First Joint Report, EPA and TCEQ have coordinated on and

discussed the WWFs. In addition, EPA prepared draft settlement language and provided that

language to Houston shortly before the December meeting. The draft language was discussed at

the December meeting. As of this time, the negotiating teams have substantially agreed on a

recommended overall approach for resolving some issues related to the two WWFs and the pilot

project, and they have identified specific issues which need to be further discussed and resolved.

The negotiating teams will continue to discuss the WWFs and expect to reach an agreement for

addressing the two WWFs in a final settlement.




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E. Compliance Measures and Injunctive Relief Reported Resolved in the November Joint
   Report

       The negotiating teams previously reported to the Court that they had reached agreement

on the compliance measures and injunctive relief discussed below.

1.     Early Action Projects. The negotiating teams discussed corrective measures (referred to

as “Early Action Projects”) that Houston would agree to implement on a short schedule to

address SSOs and effluent violations. The negotiating teams have reached agreement on

recommendations for Early Action Projects to be implemented.

2.     Advanced Sewer System Monitoring. In recent years, Houston has implemented a pilot

program involving the installation of monitoring devices at 300 manholes. These devices are

designed to remotely monitor wastewater levels and send a real-time alert to a manned station

when specified wastewater levels are about to be exceeded. Based on the alert, workers are able

to respond to the particular manhole, thereby improving responsiveness and operations with the

goal of preventing SSOs from occurring. The negotiating teams have agreed to recommend that

Houston install at least 3,000 monitors across the WCTS and evaluate the effectiveness of the

monitors over a period of years.

3. SSO Response Plan. The Houston negotiating team proposed an SSO Response Plan, which

includes, among other things, procedures Houston would follow in responding to SSOs. The

negotiating teams have reached agreement on the substantive provisions of an acceptable SSO

Response Plan, and the Houston negotiating team is currently preparing a final proposed Plan.

F. Supplemental Environmental Project (“SEP”)

       This issue was not discussed in the First Joint Report. Pursuant to the U.S. EPA’s

Supplemental Environmental Project Policy 2015 Update (“2015 SEP Update”), a SEP “is an

environmentally beneficial project or activity that is not required by law, but that a [settling]

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defendant agrees to undertake as part of the settlement of an enforcement action.” See 2015 SEP

Update at 1 (https://www.epa.gov/sites/production/files/2015-

04/documents/sepupdatedpolicy15.pdf). Prior to the Stay Order, EPA and Houston tentatively

negotiated a SEP that Houston would agree to implement as part of a final settlement. In

general, the SEP would involve the replacement of private laterals in certain neighborhoods that

would be selected based on, among other criteria, the number of SSOs occurring in the

neighborhoods during a specified period and the percentage of low income residents living in the

neighborhoods. The negotiating teams have substantially agreed on the SEP language to be

included in the final settlement document and expect to finalize such language prior to or at their

next face-to-face settlement meeting.

G. Agreed Next Steps

       The negotiating teams have scheduled their next face-to-face meeting for January 14-15,

2019 to discuss and resolve the remaining issues related to the WWFs and any other unsolved

issues related to compliance measures and injunctive relief provisions.

       In addition, prior to issuance of the Stay Order, the Plaintiffs and City had engaged in

extensive negotiations and reached preliminary final agreement on a number of non-injunctive

relief provisions that would be included in a final settlement. Such non-injunctive relief

provisions include, among others, Reporting (annual reports on steps taken to implement

injunctive relief provisions), Dispute Resolution, Civil Penalties, Stipulated Penalties,

Modification of the settlement terms, etc. Prior to and during the January meeting, the

negotiating teams intend to review these previously agreed upon provisions to determine if any

changes or revisions should be made.




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H. Commitment to Continue and Complete Settlement Negotiations

       As stated in the First Joint Report, during the period of the Stay Order and before, the

Plaintiffs and City have focused significant resources on settlement negotiations. They agree

that they have continued to make progress toward reaching a settlement that will resolve the

allegations in Plaintiffs’ Complaint. The Plaintiffs and City also agree that reaching a settlement

is feasible, and they are committed to continue their efforts. Further, the Plaintiffs and City

agree that during the next forty-five days or sooner, they expect to reach or come very close to

reaching a proposed final settlement.

       The United States, the State of Texas and Houston have conferred and agree to this

Second Joint Report.

                                         CONCLUSION

       The Plaintiffs and City will continue to keep the Court informed on the status of

settlement negotiations pursuant to the Court’s Stay Order.




                                              Respectfully submitted,

                                              FOR THE UNITED STATES

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                                CERTIFICATE OF SERVICE


       I hereby certify that on December 21, 2018, a copy of the foregoing Second Joint Report

on the Progress of Settlement Negotiations was filed electronically with the Clerk of Court using

the CM/ECF system. I also certify that I caused this filing to be served by e-mail and U.S. Mail

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